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                                UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION


 Nautilus Insurance Company,
                                                         C/A No.: 2:22-cv-1307-RMG
                Plaintiff,
 vs.
                                                       NOTICE OF APPEARANCE OF
 Richard Alexander Murdaugh, Sr.; Cory                     ANDREW R. HAND
 Fleming, Moss & Kuhn, P.A.; Chad
 Westendorf; and Palmetto State Bank,

                Defendants.



        PLEASE TAKE NOTICE that Andrew R. Hand, an attorney with the firm Richard A.

Harpootlian, P.A. and a member of the bar of this Court, hereby gives notice of his appearance as

counsel in the above-captioned case on behalf of Defendant Richard Alexander Murdaugh, Sr.



                                            Respectfully submitted,

                                            s/Andrew H. Hand
                                            Andrew R. Hand (Fed. ID No. 12176)
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                                            Murdaugh

May 23, 2023
Columbia, South Carolina.
